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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                )             CHAPTER 7
                                                      )
DANIEL LEON WATKINS and                               )             CASE NO. 12-73375-LRC
DONNA KAY WATKINS,                                    )
                                                      )
                   DEBTORS.                           )

           NOTICE OF APPOINTMENT OF INTERIM SUCCESSOR TRUSTEE
                    AND SPECIAL MEETING OF CREDITORS

         On May 31, 2020, the Court reopened this case. (Dkt. No. 49) The United States Trustee
appoints John Lewis, Jr., as interim successor trustee in this case. The trustee shall serve under the
blanket bond heretofore approved. Pursuant to F. R. Bankr. P. 2003(f), the United States Trustee will
convene a special meeting of creditors. The interim successor trustee will preside at the meeting.
Unless creditors elect another trustee, the interim successor trustee appointed herein shall serve as
trustee without further appointment or qualification under the same bond.
         The name and address of the interim successor trustee and the date, time, and location of the
special meeting of creditors are as follows:

 John Lewis, Jr.                      July 15, 2020, at 8:50 a.m.
 1230 Peachtree Street
 Suite 1200                           The meeting will be held by telephone conference call.
 Atlanta, GA 30309                    To attend, dial: 866-775-8031.
 Phone: (404) 891-0948                When prompted, enter participant code: 8793705#.

Notice given by:                               NANCY J. GARGULA
                                               UNITED STATES TRUSTEE, REGION 21

                                               s/ Jeneane Treace
                                               R. Jeneane Treace
                                               Georgia Bar No. 716620
                                               United States Department of Justice
                                               Office of the United States Trustee
                                               362 Richard B. Russell Federal Building
                                               75 Ted Turner Drive, S.W.
                                               Atlanta, Georgia 30303
                                               (404) 331-4437
                                               jeneane.treace@usdoj.gov
